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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1377V
                                          UNPUBLISHED


    KIM BOYER,                                                  Chief Special Master Corcoran

                         Petitioner,                            Filed: April 2, 2021
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Amy A. Senerth, Muller Brazil, LLP, Dresher, PA, for petitioner.

Christine Mary Becer, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES 1

       On September 10, 2019, Kim Boyer filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) caused by an influenza (“flu”) vaccine administered on October
12, 2017. Petition at 1. Petitioner further alleges that the vaccine was administered within
the United States, that he suffered the effects of his injury for six months or more, and
that there has been no award or settlement for his injury. Petition at 1, 5-6. The case was
assigned to the Special Processing Unit of the Office of Special Masters.

        On February 22, 2021, a ruling on entitlement was issued, finding Petitioner
entitled to compensation for a SIRVA. On April 1, 2021, Respondent filed a proffer on
award of compensation (“Proffer”) indicating Petitioner should be awarded $110,220.25

1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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consisting of $110,000.00 for pain and suffering, and $220.25 for out-of-pocket expenses.
Proffer at 1. In the Proffer, Respondent represented that Petitioner agrees with the
proffered award. Id. Based on the record as a whole, I find that Petitioner is entitled to an
award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $110,220.25 consisting of $110,000.00 for pain and suffering, and
$220.25 for out-of-pocket expenses in the form of a check payable to Petitioner.
This amount represents compensation for all damages that would be available under §
15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                        OFFICE OF SPECIAL MASTERS
____________________________________
                                     )
KIM BOYER,                           )
                                     )
            Petitioner,              )
                                    )   No. 19-1377V
      v.                            )   Chief Special Master Corcoran
                                     )  ECF
SECRETARY OF HEALTH AND              )
HUMAN SERVICES,                      )
                                     )
            Respondent.             )
____________________________________)

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.     Procedural History

       On February 19, 2021, respondent filed a Vaccine Rule 4(c) report concluding that

petitioner sustained the onset of a left shoulder injury related to vaccine administration

(“SIRVA”) within the Table time period following an influenza vaccine, and therefore sustained

an injury that is compensable under the terms of the National Childhood Vaccine Injury Act of

1986, as amended, 42 U.S.C. §§300aa-10 to -34. Accordingly, on February 22, 2021, the Chief

Special Master issued a Ruling on Entitlement, finding that petitioner was entitled to vaccine

compensation for SIRVA following the influenza vaccine she received on October 12, 2017.

II.    Items of Compensation

       Respondent proffers that petitioner should be awarded $110,000.00 for pain and suffering

and $220.25 for out-of-pocket expenses.

       This represents all elements of compensation to which petitioner is entitled under 42

U.S.C. § 300aa-15(a). Petitioner agrees.
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III.   Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following 1: a lump sum payment of $110,220.25, in the form of

a check payable to petitioner.

IV.    Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Kim Boyer:                            $110,220.25

                                                      Respectfully submitted,

                                                      BRIAN M. BOYNTON
                                                      Acting Assistant Attorney General

                                                      C. SALVATORE D’ALESSIO
                                                      Acting Director
                                                      Torts Branch, Civil Division

                                                      HEATHER L. PEARLMAN
                                                      Acting Deputy Director
                                                      Torts Branch, Civil Division

                                                      ALEXIS B. BABCOCK
                                                      Assistant Director
                                                      Torts Branch, Civil Division

                                                      s/Christine Mary Becer
                                                      CHRISTINE MARY BECER
                                                      Trial Attorney
                                                      Torts Branch, Civil Division
                                                      U.S. Department of Justice
                                                      P.O. Box 146
                                                      Benjamin Franklin Station
                                                      Washington, D.C. 20044-0146
                                                      Tel: (202) 616-3665
       DATED: April 1, 2021
1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future pain and
suffering.
                                                 2
